Case 2:21-cv-00183-PLM-MV ECF No. 18, PageID.100 Filed 10/04/21 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                NORTHERN DIVISION

 1240 S. BANNOCK, LLC.,

        Plaintiff,
                                                   Case No. 2:21-cv-183
 v.
                                                   HONORABLE PAUL L. MALONEY
 DENNIS SIEM, et al.,

        Defendants.
 ____________________________/

                 ORDER DISMISSING MOTION TO DISMISS AS MOOT

        On September 7, 2021, Defendants Coldwell Banker Real Estate Group and Dennis Siem

filed a motion to dismiss the complaint pursuant to Fed. R. Civ. P. 12(b)(6). On September 28,

2021, Plaintiff filed an amended complaint as a matter of course pursuant to Fed. R. Civ. P.

15(a)(1) (ECF No. 16). When filed, an amended complaint supersedes the original complaint,

which becomes a nullity. See Drake v. City of Detroit, 266 F.App’x 444, 448 (6th Cir. 2008);

Klyce v. Ramirez, 852 F.2d 568, 1988 WL 74155, at * 3 (6th Cir. July 19, 1998) (per curiam)

(unpublished table opinion) (collecting cases from other circuits). An amended complaint filed

after a motion to dismiss has been filed renders the motion to dismiss moot. See Bancoult v.

McNamara, 214 F.R.D. 5, 13 (D.D.C. 2003) (“Because the original complaint now is superseded

by the amended complaint, the court denies without prejudice all pending motions pertaining to

the original complaint.”). Accordingly, the motion to dismiss the complaint (ECF No. 8) is

DISMISSED AS MOOT.



Date: October 4, 2021                              /s/ Paul L. Maloney
                                                  Paul L. Maloney
                                                  United States District Judge
